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                                              May 14, 2018



Via ECF
Honorable John K. Sherwood, U.S.B.J.
United States Bankruptcy Court
Martin Luther King, Jr. Federal Building
50 Walnut Street
Newark, NJ 07102

       Re:     Uzi Marom
               Case No. 09-40186 (JKS)
               Hearing Date: May 15, 2018, at 10:00 a.m.

Dear Judge Sherwood:
       This firm represents the debtor in the above-referenced matter. Pursuant to my
conversation with Ms. Haywood earlier today, this will confirm that the hearing on the debtor’s
motion to re-open the case and for other relief [Dkt. No. 56] has been adjourned to August 7,
2018, at 10:00 a.m.

       Thank you for Your Honor’s consideration.



                                                           Respectfully,

                                                           /s/ Kenneth L. Baum

                                                           Kenneth L. Baum
